Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 1 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 2 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 3 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 4 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 5 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 6 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 7 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 8 of 10
Case 22-18303-JKS   Doc 139    Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                              Document     Page 9 of 10
Case 22-18303-JKS   Doc 139 Filed 08/09/23 Entered 08/09/23 18:17:37   Desc Main
                           Document    Page 10 of 10
